IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA

CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA ex rel. )

Craig Meyer; )
) 17-cv-0012-LTS-KEM

Plaintiffs and Relator; )

)

VS. )

)

RESPIRONICS, INC., )

)

Defendant. )

ORDER

The United States having intervened in part of this action and having declined to

intervene in part of this action pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(2)
and (4), the Court rules as follows:

IT IS ORDERED that,

1. The-above referenced matter is dismissed with prejudice as to the Relator’s
claims against Defendant Respironics, Inc.;

2. The above-referenced matter is dismissed with prejudice as to the United
States’ claims against Defendant Respironics, Inc. for the Covered Conduct as
set forth in the parties’ settlement agreement, and without prejudice as to any
other claim(s);

3. These dismissals dispose of all claims against Defendant Respironics, Inc. in

the above-referenced matter;

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4. The Relator's Complaint, the Government's Notice of Election to Intervene,
Joint Motion to Dismiss, and this Order be unsealed. All other contents of the
Court’s file in this action not specifically unsealed by this Order shall remain
under seal and not be made public or served upon the Defendant; and

5. The seal be lifted on all other matters occurring in this action after the date of
this Order.

IT IS SO ORDERED,

This 22" day of September, 2022.

 

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LEONARD-T. STRAND

CHIEF JUDGE

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF IOWA

 

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